         Case 1:20-cv-07311-LAK Document 197 Filed 08/03/23 Page 1 of 1
                                                                                         Michael T. Madaio, Esq.
                                                                                                        Partner
                                                                                       mmadaio@habbalaw.com
                                                                                 Admitted to practice in NJ, NY & PA




                                                                                              August 3, 2023
VIA ECF
The Honorable Lewis A. Kaplan
United States District Court
Southern District of New York
Daniel Patrick Moynihan
500 Pearl Street
New York, New York 10007

       Re:      E. Jean Carroll v. Donald J. Trump
                20 Civ. 7311 (LAK)

Dear Judge Kaplan:

        On July 19, 2023, this Court directed the parties to “file a motion setting forth precisely
each fact or proposition of law, if any, as to which the moving party claims Carroll II has
preclusive effect in this action.” See ECF 178. Plaintiff subsequently submitted a letter to the Court,
see ECF 182, seeking permission to submit “any targeted summary judgment motions” addressing
the preclusive effect of Carroll II. To date, Plaintiff’s request has not been addressed by this Court.

       Given that the Court did not expressly invite the parties to submit motions for summary
judgment, Defendant objects to the form of Plaintiff’s motion for partial summary judgment, as it
seemingly exceeds the scope of the Court’s directive. To the extent this Court deems Plaintiff’s
motion acceptable, Defendant respectfully requests 21 days to file an opposition to Plaintiff’s
motion. This period of time aligns with the Court’s prior mandate setting forth the applicable
deadlines for summary judgment motions. See ECF 102. In the interest of judicial economy,
Defendant would have no objection to similarly extending Plaintiff’s time to respond to
Defendant’s motion.

       We thank the Court for its courtesy and attention to this matter.

                                                   Respectfully submitted,




                                                   Michael T. Madaio, Esq.
                                                   For HABBA MADAIO & ASSOCIATES LLP
cc: Counsel of Record




    143 0 U. S . H i gh wa y 20 6, S ui te 2 40 , B ed mi n s ter , N J 07 92 1 ▪ T el . 9 0 8.8 69 .1 18 8
